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                                    FOR PUBLICATION

                      UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT


                    APARTMENT ASSOCIATION OF LOS             No. 20-56251
                    ANGELES COUNTY, INC., DBA
                    Apartment Association of Greater           D.C. No.
                    Los Angeles,                            2:20-cv-05193-
                                    Plaintiff-Appellant,      DDP-JEM

                                     v.
                                                               OPINION
                    CITY OF LOS ANGELES; ERIC
                    GARCETTI, in his official capacity as
                    Mayor of Los Angeles; CITY
                    COUNCIL OF THE CITY OF LOS
                    ANGELES, in its official capacity;
                    DOES, 1 through 25, inclusive,
                                  Defendants-Appellees,

                                    and

                    ALLIANCE OF CALIFORNIANS FOR
                    COMMUNITY EMPOWERMENT
                    ACTION; STRATEGIC ACTIONS FOR A
                    JUST ECONOMY,
                       Intervenor-Defendants-Appellees.

                          Appeal from the United States District Court
                             for the Central District of California
                          Dean D. Pregerson, District Judge, Presiding
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                   2        APARTMENT ASS’N OF LA CNTY. V. CITY OF LA

                                Argued and Submitted May 12, 2021
                                       Pasadena, California

                                         Filed August 25, 2021

                    Before: Jay S. Bybee and Daniel A. Bress, Circuit Judges,
                             and Kathleen Cardone, * District Judge.

                                        Opinion by Judge Bress


                                             SUMMARY **


                                              Civil Rights

                       The panel affirmed the district court’s order denying
                   plaintiff’s request for preliminary injunctive relief in an
                   action brought by a trade association of Los Angeles
                   landlords challenging the City’s eviction moratorium,
                   imposed in response to the COVID-19 pandemic.

                       Plaintiff sought to enjoin key provisions of the eviction
                   moratorium as violating the Contracts Clause. The panel
                   held that the district court did not abuse its discretion in
                   concluding that plaintiff had not shown the required
                   likelihood of success on the merits.



                       *
                        The Honorable Kathleen Cardone, United States District Judge for
                   the Western District of Texas, sitting by designation.
                       **
                          This summary constitutes no part of the opinion of the court. It
                   has been prepared by court staff for the convenience of the reader.
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                       Applying the two-step test set forth in Sveen v. Melin,
                   138 S. Ct. 1815 (2018), the panel held that even if the
                   eviction moratorium was a substantial impairment of
                   contractual relations, the district court did not err in
                   determining that the moratorium’s provisions were likely
                   “reasonable” and “appropriate” given the circumstances of
                   the COVID-19 pandemic. The City fairly tied the
                   moratorium to its stated goal of preventing displacement
                   from homes, which the City reasonably explained could
                   exacerbate the public health–related problems stemming
                   from the COVID-19 pandemic. In turn, each of the
                   provisions of the eviction moratorium that plaintiff
                   challenged could be viewed as reasonable attempts to
                   address that valid public purpose.

                       The panel stated that whatever force plaintiff’s challenge
                   may have had in a much earlier era of Contracts Clause
                   jurisprudence, more contemporary Supreme Court case law
                   has severely limited the Contracts Clause’s potency. The
                   panel held that, given the deferential standard established by
                   the Supreme Court and this court, it was compelled to
                   conclude that the City’s enactments passed constitutional
                   muster under the Contracts Clause. And whatever other
                   constitutional challenges plaintiff may seek to bring against
                   the Los Angeles eviction moratorium, there was no apparent
                   basis under modern cases to find the challenged provisions
                   unconstitutional under the Contracts Clause—the only issue
                   before the panel.


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                         APARTMENT ASS’N OF LA CNTY. V. CITY OF LA              7

                                            OPINION

                   BRESS, Circuit Judge:

                        Following the outbreak of COVID-19 in early 2020, the
                   City of Los Angeles imposed an eviction moratorium with
                   the stated purposes of ensuring housing security and
                   promoting public health during the pandemic.             The
                   moratorium operates during a “Local Emergency Period” to
                   bar certain evictions. Related provisions delay applicable
                   tenants’ rent payment obligations and prohibit landlords
                   from charging late fees and interest. Plaintiff, a trade
                   association of Los Angeles landlords, sued the City, arguing
                   that the moratorium and its related provisions violate the
                   Constitution’s Contracts Clause. U.S. Const. art. I, § 10,
                   cl. 1. The district court denied plaintiff’s request for
                   preliminary injunctive relief, and plaintiff now appeals that
                   ruling.

                       Other courts, including the Supreme Court, have recently
                   considered a variety of constitutional and statutory
                   challenges to COVID-19 eviction moratoria. The appeal
                   before us, however, is limited only to the Contracts Clause.
                   We hold that under modern Contracts Clause doctrine, the
                   district court did not err in determining that the moratorium’s
                   provisions were likely “reasonable” and “appropriate” given
                   the circumstances of the COVID-19 pandemic. Whatever
                   force plaintiff’s challenge may have had in a much earlier
                   era of Contracts Clause jurisprudence, more contemporary
                   Supreme Court case law has severely limited the Contracts
                   Clause’s potency. And whatever other constitutional
                   challenges plaintiff may seek to bring against the Los
                   Angeles eviction moratorium, there is no apparent basis
                   under modern cases to find the challenged provisions
                   unconstitutional under the Contracts Clause—the only issue
                   before us.
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                       The district court thus did not abuse its discretion in
                   concluding that plaintiff had not shown the required
                   likelihood of success on the merits. We therefore affirm.

                                                 I

                                                 A

                       Following the spread of COVID-19 to the United States,
                   the Secretary of Health and Human Services on January 31,
                   2020 declared a nationwide public health emergency.
                   California’s Governor likewise proclaimed a state of
                   emergency some weeks later. Soon after that, and as
                   relevant here, the City of Los Angeles enacted an ordinance
                   imposing a series of restrictions on residential landlords.
                   L.A., Cal., Ordinance No. 186,585 (Mar. 31, 2020). A
                   subsequent ordinance created further restrictions. L.A., Cal.,
                   Ordinance No. 186,606 (May 12, 2020). We will refer to
                   these ordinances, which subsequently were codified at
                   sections 49.99 through 49.99.9 of the Los Angeles
                   Municipal Code, as the “eviction moratorium.”

                       The eviction moratorium made plain its motivations and
                   purpose. It described the City Council’s finding that “[t]he
                   COVID-19 pandemic threatens to undermine housing
                   security and generate unnecessary displacement of City
                   residents and instability of City businesses.” L.A., Cal.,
                   Municipal Code § 49.99. It also referenced public health
                   measures that called for many individuals to stay at home, as
                   well as the loss of income and increased expenses
                   anticipated as a result of governmental directives to “self-
                   isolate” and shut down nonessential businesses. Id. Noting
                   the relationship between housing and physical health during
                   the pandemic, the City Council found it necessary to “take
                   measures to protect public health, life, and property” by
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                   enacting the eviction moratorium. Id.; L.A., Cal., Ordinance
                   No. 186,585 pmbl.

                       To achieve these goals, the eviction moratorium curtails
                   the rights of residential landlords in various ways. Most
                   significantly, it substantially alters the grounds that
                   landlords may invoke against tenants in eviction actions
                   (known in California as “unlawful detainer” actions).
                   Specifically, landlords are barred from “endeavor[ing] to
                   evict or evict[ing] a residential tenant for” any of three
                   reasons. L.A., Cal., Municipal Code § 49.99.2(A)–(C).

                       First, “[d]uring the Local Emergency Period and for
                   12 months after its expiration,” tenants cannot be evicted
                   “for non-payment of rent . . . if the tenant is unable to pay
                   rent due to circumstances related to the COVID-19
                   pandemic.” Id. § 49.99.2(A). “[C]ircumstances related to
                   the COVID-19 pandemic” include:

                          loss of income due to a COVID-19 related
                          workplace closure, child care expenditures
                          due to school closures, health-care expenses
                          related to being ill with COVID-19 or caring
                          for a member of the tenant’s household or
                          family who is ill with COVID-19, or
                          reasonable expenditures that stem from
                          government-ordered emergency measures.

                   Id. Although these tenants’ payment obligations were
                   deferred (an issue we discuss further below), the moratorium
                   did not relieve tenants of their ultimate obligations to pay
                   rent. Id.

                      Second, during the Local Emergency Period, tenants
                   cannot be evicted for a “no-fault reason.” Id. § 49.99.2(B).
                   Those reasons include an owner or owner’s family intending
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                 to occupy the property; withdrawal of the property from the
                 rental market; the owner’s compliance with laws or
                 governmental orders requiring vacating of the property; and
                 intent to demolish or remodel the property. Id. § 49.99.1(D);
                 see also Cal. Civ. Code § 1946.2(b)(2). Finally, tenants
                 during the Local Emergency Period cannot be evicted “based
                 on the presence of unauthorized occupants or pets, or for
                 nuisance related to COVID-19.” Id. § 49.99.2(C).

                     The “Local Emergency Period” was defined as “the
                 period of time from March 4, 2020, to the end of the local
                 emergency as declared by the Mayor.” Id. §§ 49.99.1(C).
                 The Local Emergency Period remains ongoing as of the time
                 of this opinion. The eviction moratorium does not require
                 tenants to provide any evidence, such as a written attestation,
                 that any claimed inability to pay rent, presence of
                 “unauthorized occupants or pets,” or “nuisance” existed or
                 was COVID-19-related.

                     Additionally, the eviction moratorium alters tenants’
                 payment obligations by providing them “up to 12 months
                 following the expiration of the Local Emergency Period to
                 repay any rent deferred during the Local Emergency
                 Period.” Id. § 49.99.2(A). By its terms, however, it does not
                 “eliminate[] any obligation to pay lawfully charged rent.”
                 Id. For covered tenants, the moratorium also prohibits
                 landlords from “charg[ing] interest or a late fee on rent not
                 paid.” Id. § 49.99.2(D).

                     Landlords may continue to seek to evict tenants based on
                 their good-faith belief that the tenants are not protected
                 under the eviction moratorium.          But the eviction
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                 moratorium’s protections create an affirmative defense for
                 tenants in an unlawful detainer action. 1 Id. § 49.99.6.

                     The eviction moratorium also creates a private right of
                 action for residential tenants who believe their landlords
                 have aggrieved them. Id. § 49.99.7. If the landlord was
                 given an opportunity to cure and did not do so, a prevailing
                 tenant is potentially entitled to “injunctive relief, direct
                 money damages,” “reasonable attorney’s fees and costs,”
                 and “an award of a civil penalty up to $10,000 per violation
                 depending on the severity of the violation” (and up to an
                 additional $5,000 per violation for elderly or disabled
                 tenants). Id. However, an “[o]wner who prevails in any such
                 action and obtains a Court determination that the tenant’s
                 action was frivolous” also may recover “reasonable
                 attorney’s fees and costs.” Id. 2



                     1
                        The Supreme Court recently temporarily enjoined Part A of the
                 COVID Emergency Eviction and Foreclosure Prevention Act
                 (CEEFPA), 2020 N.Y. Laws ch. 381. Chrysafis v. Marks, No. 21A8,
                 slip op. at 1 (U.S. Aug. 12, 2021). Under the New York law, “[i]f a
                 tenant self-certifies financial hardship” due to COVID-19, CEEFPA
                 “generally precludes a landlord from contesting that certification and
                 denies the landlord a hearing.” Id. The Supreme Court concluded that
                 “[t]his scheme violates the Court’s longstanding teaching that ordinarily,
                 ‘no man can be a judge in his own case’ consistent with the Due Process
                 Clause.” Id. (quoting In re Murchinson, 349 U.S. 133, 136 (1955)).
                 Although there are apparent differences between the Los Angeles and
                 New York eviction moratoria, AAGLA in any event does not raise
                 before us any Due Process challenge, whether to the procedures
                 governing unlawful detainer proceedings or otherwise.
                     2
                       We grant the City’s motion for judicial notice of related COVID-
                 19 measures. We also note that the eviction moratorium contains other
                 provisions not at issue in this appeal, such as requirements that landlords
                 notify tenants of their rights under the moratorium and restrictions on
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                                                   B

                     Plaintiff Apartment Association of Los Angeles County,
                 Inc., dba Apartment Association of Greater Los Angeles
                 (“AAGLA”), is a trade association “comprised of thousands
                 of owners and managers of rental housing units, including
                 over 55,000 properties within the City of Los Angeles.”
                 AAGLA’s members did not react positively to the City’s
                 eviction moratorium, viewing it as laying on their shoulders
                 the burdens of maintaining affordable housing during the
                 pandemic. On June 11, 2020, AAGLA, on behalf of its
                 members, challenged the eviction moratorium in a lawsuit
                 against the City, its Mayor, and the City Council. We will
                 refer to these parties collectively as the “City.”

                     AAGLA alleged that the eviction moratorium violated
                 the Contracts Clause, the Takings Clause, and the Tenth and
                 Fourteenth Amendments. Later, AAGLA moved for a
                 preliminary injunction. As relevant here, AAGLA sought to
                 enjoin key provisions of the eviction moratorium as violating
                 the Contracts Clause. 3 In support of its motion, AAGLA
                 submitted declarations from four of its members who own or
                 manage properties in Los Angeles, detailing the harms the
                 eviction moratorium was allegedly causing them. These
                 harms include loss of rental income, inability to perform
                 background checks on unauthorized occupants, and being

                 removing residential property from the rental market. See, e.g., L.A.,
                 Cal., Municipal Code §§ 49.99.2(E), .4.
                      3
                        AAGLA did not request preliminary injunctive relief based on the
                 Takings Clause.        And although it did invoke the Fourteenth
                 Amendment’s Due Process Clause, AAGLA does not appeal the district
                 court’s rejection of that claim. We therefore have no occasion to decide
                 whether AAGLA has a valid claim under either the Takings Clause or
                 the Fourteenth Amendment.
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                 forced to use retirement savings to cover expenses on the
                 properties.

                     The district court denied AAGLA’s request for
                 preliminary injunctive relief. The district court first
                 determined that AAGLA was unlikely to succeed on its
                 Contracts Clause claim. The court found that AAGLA was
                 likely to show that the eviction moratorium would be “a
                 substantial impairment of its contractual rights,” in part
                 because no landlord could have anticipated the COVID-19
                 pandemic and “the public health measures necessary to
                 combat it.” But the district court also determined that
                 AAGLA could not show that the eviction moratorium was
                 not “reasonable” and “appropriate” under the deferential
                 standard in Contracts Clause cases. Furthermore, the district
                 court found that AAGLA had not shown a likelihood of
                 irreparable harm or that the balance of the equities and the
                 public interest favored granting relief.

                     AAGLA timely appealed the district court’s order
                 denying preliminary injunctive relief. On appeal, AAGLA
                 pursues its Contracts Clause challenge only with respect to
                 the provisions of the eviction moratorium governing
                 restrictions on the grounds for evictions, rent deferment, and
                 the elimination of late fees and interest.

                                               II

                     We “review the district court’s decision to . . . deny a
                 preliminary injunction for abuse of discretion.” Sw. Voter
                 Registration Educ. Project v. Shelley, 344 F.3d 914, 918 (9th
                 Cir. 2003) (en banc) (per curiam). “The district court’s
                 interpretation of the underlying legal principles, however, is
                 subject to de novo review.” Id. Factual findings are
                 reviewed for clear error. Shell Offshore, Inc. v. Greenpeace,
                 Inc., 709 F.3d 1281, 1286 (9th Cir. 2013).
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                     A preliminary injunction is “an extraordinary and drastic
                 remedy, one that should not be granted unless the movant,
                 by a clear showing, carries the burden of persuasion.” Lopez
                 v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012) (emphasis in
                 original) (quoting Mazurek v. Armstrong, 520 U.S. 968, 972
                 (1997) (per curiam)); accord Winter v. Nat. Res. Def.
                 Council, Inc., 555 U.S. 7, 22 (2008). To obtain injunctive
                 relief, a plaintiff “must establish [1] that he is likely to
                 succeed on the merits, [2] that he is likely to suffer
                 irreparable harm in the absence of preliminary relief, [3] that
                 the balance of equities tips in his favor, and [4] that an
                 injunction is in the public interest.” City & County of San
                 Francisco v. USCIS, 944 F.3d 773, 788–89 (9th Cir. 2019)
                 (quoting Winter, 555 U.S. at 20) (alterations in original).
                 “Likelihood of success on the merits is the most important
                 factor.” California v. Azar, 911 F.3d 558, 575 (9th Cir.
                 2018) (quotations omitted).

                                               III

                                               A

                     The Contracts Clause provides that “No State shall . . .
                 pass any . . . Law impairing the Obligation of Contracts.”
                 U.S. Const. art. I, § 10, cl. 1. As a historical matter, the
                 “primary focus” of the Contracts Clause “was upon
                 legislation that was designed to repudiate or adjust pre-
                 existing debtor-creditor relationships that obligors were
                 unable to satisfy.” Keystone Bituminous Coal Ass’n v.
                 DeBenedictis, 480 U.S. 470, 503 (1987); see generally Home
                 Bldg. & Loan Ass’n v. Blaisdell, 290 U.S. 398, 453–65
                 (1934) (Sutherland, J., dissenting) (recounting the history of
                 the Contracts Clause). Yet “the text is not so limited, and
                 historical context suggests that the Clause was aimed at all
                 retrospective, redistributive schemes in violation of vested
                 contractual rights.” Ass’n of Equip. Mfrs. v. Burgum,
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                 932 F.3d 727, 732 (8th Cir. 2019) (quotations omitted). For
                 the first 150 years of American legal history, the Contracts
                 Clause imposed consequential limitations that federal courts
                 routinely deployed to invalidate state and local legislation.
                 See Blaisdell, 290 U.S. at 465–72 (Sutherland, J., dissenting)
                 (collecting and discussing cases).

                     All of that changed with Home Building & Loan Ass’n v.
                 Blaisdell, 290 U.S. 398 (1934), the “watershed decision . . .
                 on which the modern interpretation of the [Contracts Clause]
                 rests.” Richard A. Epstein, Toward a Revitalization of the
                 Contract Clause, 51 U. Chi. L. Rev. 703, 735 (1984). There,
                 the Court “upheld Minnesota’s statutory moratorium against
                 home foreclosures, in part, because the legislation was
                 addressed to the ‘legitimate end’ of protecting ‘a basic
                 interest of society.’” Keystone Bituminous, 480 U.S. at 503
                 (quoting Blaisdell, 590 U.S. at 445).

                     Blaisdell marked the beginning of the Supreme Court
                 significantly curtailing the Contracts Clause’s prohibitive
                 force. As a result, the relevant cases today primarily consist
                 of Blaisdell and its progeny, which set forth a very different
                 conception of the Contracts Clause than in earlier cases.
                 E.g., Sveen v. Melin, 138 S. Ct. 1815 (2018); Keystone
                 Bituminous, 480 U.S. 470; Exxon Corp. v. Eagerton,
                 462 U.S. 176 (1983); Energy Reserves Grp. v. Kan. Power
                 & Light Co., 459 U.S. 400 (1983). Perhaps most
                 prominently, in Energy Reserves Group v. Kansas Power &
                 Light Co., 459 U.S. 400 (1983), the Court clarified the
                 modern approach to the Contracts Clause post-Blaisdell,
                 articulating the flexible considerations courts must consider
                 in a Contracts Clause case. Id. at 410–13.

                     Recently, in Sveen v. Melin, 138 S. Ct. 1815 (2018), the
                 Supreme Court restated the inquiry as a “two-step test.” Id.
                 at 1821–22. Under Sveen’s formulation, “[t]he threshold
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                 issue is whether the state law has ‘operated as a substantial
                 impairment of a contractual relationship.’” Id. (quoting
                 Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 244
                 (1978)). Factors relevant to that consideration include “the
                 extent to which the law undermines the contractual bargain,
                 interferes with a party’s reasonable expectations, and
                 prevents the party from safeguarding or reinstating his
                 rights.” Id. at 1822.

                     If the law is a substantial impairment, then “the inquiry
                 turns to the means and ends of the legislation.” Id. At that
                 point, a court must determine whether the law is drawn in an
                 “‘appropriate’ and ‘reasonable’ way to advance ‘a
                 significant and legitimate public purpose.’” Id. (quoting
                 Energy Reserves, 459 U.S. at 411–12). A heightened level
                 of judicial scrutiny is appropriate when the government is a
                 contracting party. U.S. Trust Co. of N.Y. v. New Jersey,
                 431 U.S. 1, 25–26 (1977). But when the government is not
                 party to the contract being impaired, “courts properly defer
                 to legislative judgment as to the necessity and
                 reasonableness of a particular measure.” Energy Reserves,
                 459 U.S. at 413 (quotations omitted); see also Keystone
                 Bituminous, 480 U.S. at 505; Lazar v. Kroncke, 862 F.3d
                 1186, 1199 (9th Cir. 2017).

                     Thus, the eviction moratorium must be upheld, even if it
                 is a substantial impairment of contractual relations, if its
                 “adjustment of the rights and responsibilities of contracting
                 parties is based upon reasonable conditions and is of a
                 character appropriate to the public purpose justifying the
                 legislation’s adoption.” Energy Reserves, 459 U.S. at 412
                 (quotations omitted and alterations accepted). And because
                 the government is not “the party asserting the benefit of the
                 statute,” AAGLA bears the burden of showing that the
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                 ordinances are unreasonable. Seltzer v. Cochrane (In re
                 Seltzer), 104 F.3d 234, 236 (9th Cir. 1996).

                                                B

                     We need not decide whether the eviction moratorium is
                 a substantial impairment of contractual relations because
                 even assuming it is, given the challenges that COVID-19
                 presents, the moratorium’s provisions constitute an
                 “appropriate and reasonable way to advance a significant
                 and legitimate public purpose.” Sveen, 138 S. Ct. at 1822
                 (quotations omitted); see also Snake River Valley Elec. Ass’n
                 v. PacifiCorp, 357 F.3d 1042, 1051 n.9 (9th Cir. 2004) (“We
                 need not address the question of substantial impairment, for
                 we have no doubt that the [statute] reflects significant and
                 legitimate public purposes . . . .”). AAGLA does not dispute
                 that the eviction moratorium was enacted for a permissible
                 public purpose. Therefore, it can prevail, if at all, only if it
                 can show that the provisions it challenges were not
                 “appropriate and reasonable.” Sveen, 138 S. Ct. at 1822.

                     AAGLA’s challenge meets its end here because the
                 district court properly deferred to local officials in the
                 reasonableness analysis under modern Contracts Clause
                 precedent.    See Energy Reserves, 459 U.S. at 413.
                 Therefore, assuming without deciding that the eviction
                 moratorium is a substantial impairment of contracts, and
                 undertaking a “careful examination” of its provisions, Allied
                 Structural, 438 U.S. at 245, we conclude that AAGLA is
                 unlikely to show that the eviction moratorium is an
                 unreasonable fit for the problems identified.

                     Case law supports this conclusion: repeatedly in modern
                 times, both the Supreme Court and this court have upheld as
                 reasonable various laws that nonetheless may have affected
                 private contracts. See, e.g., Keystone Bituminous, 480 U.S.
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                 at 505–06; Exxon Corp., 462 U.S. at 191–94; Energy
                 Reserves, 459 U.S. at 416–19; Snake River, 357 F.3d at 1051
                 n.9; Seltzer, 104 F.3d at 236–37. For instance, despite
                 finding that the law challenged in Keystone Bituminous Coal
                 Ass’n v. DeBenedictis, 480 U.S. 470 (1987), was a
                 substantial impairment, the Court upheld it, “refus[ing] to
                 second-guess” the legislature’s identification of “the most
                 appropriate ways of dealing with the problem.” Id. at 506.

                     Given such precedents, AAGLA is unlikely to show that
                 the challenged provisions of the eviction moratorium are
                 constitutionally impermissible under the Contracts Clause.
                 The City fairly ties the moratorium to its stated goal of
                 preventing displacement from homes, which the City
                 reasonably explains can exacerbate the public health-related
                 problems stemming from the COVID-19 pandemic. See
                 L.A., Cal., Municipal Code § 49.99 (“The COVID-19
                 pandemic threatens to undermine housing security and
                 generate unnecessary displacement of City residents and
                 instability of City businesses. Therefore, the City of Los
                 Angeles has taken and must continue to take measures to
                 protect public health, life, and property.”); L.A., Cal.,
                 Ordinance No. 186,585 pmbl. (“[I]n the interest of
                 protecting public health and preventing transmission of
                 COVID-19, it is essential to avoid unnecessary housing
                 displacement to protect the City’s affordable housing stock
                 and to prevent housed individuals from falling into
                 homelessness[.]”). As mentioned, AAGLA does not dispute
                 that this purpose is a legitimate one.

                     In turn, each of the provisions of the eviction moratorium
                 that AAGLA challenges may be viewed as reasonable
                 attempts to address that valid public purpose. See Energy
                 Reserves, 459 U.S. at 418–19. As the City explains in its
                 briefing, the eviction protections are “necessary to avoid
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                 displacing residential tenants amidst a pandemic”; late fees
                 and interest “could compound COVID-19 affected tenants’
                 dilemmas, causing them to self-evict or be evicted”; and
                 “economic hardship may cause consolidation of households
                 and an increase in the number of inhabitants in some units,
                 which could include additional inhabitants’ pets” (citations
                 and quotations omitted).

                     Thus, given the deferential standard that precedent
                 constrains us to apply, we are compelled to conclude that the
                 City’s enactments pass constitutional muster under the
                 Contracts Clause. Under current doctrine, we must “refuse
                 to second-guess” the City’s determination that the eviction
                 moratorium constitutes “the most appropriate way[] of
                 dealing with the problem[s]” identified.           Keystone
                 Bituminous, 480 U.S. at 506. That is particularly so, based
                 on modern Contracts Clause cases, in the face of a public
                 health situation like COVID-19. See Blaisdell, 290 U.S. at
                 440–41, 444–45.

                                              C

                     AAGLA does not seriously argue that the City’s chosen
                 mechanisms are not reasonably related to the legitimate
                 public purpose of ensuring health and security during the
                 pandemic. Instead, AAGLA relies on a line of cases,
                 beginning in the antebellum period and culminating in
                 Blaisdell, that considered various laws imposing moratoria
                 on evictions and foreclosures. Citing those earlier cases,
                 AAGLA avers that “the Supreme Court has established a
                 standard for reasonableness in the context of moratoria
                 delaying a property owner’s right to possession: ensuring
                 fair rental compensation contemporaneous with the
                 extended occupation during the pendency of a moratorium.”
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                     AAGLA correctly observes that the Court in those
                 Contracts Clause cases often appears to have referenced in
                 its discussion whether the law provided for some sort of
                 reasonable rental value to be paid to the property owner
                 during the moratoria’s interim. In Blaisdell, for example, the
                 Court upheld a moratorium on foreclosures, at least in part
                 because it “secure[d] to the mortgagee the rental value of the
                 property” during the emergency period. 290 U.S. at 432.
                 The other cases AAGLA discusses appear to have viewed
                 reasonable rent as a relevant consideration as well. 4

                     But AAGLA’s assertion that, as a matter of
                 constitutional law, eviction moratoria require fair rental
                 compensation in the interim fails for two main reasons.
                 First, even in the more Contracts Clause-friendly era in
                 which some of these cases were decided, the authorities
                 AAGLA cites do not clearly impose AAGLA’s preferred
                 inflexible rent payment rule. While these cases treated
                 reasonable rent as a relevant criterion in the analysis, they do
                 not purport to impose such a requirement as a categorical
                 matter.    Indeed, even AAGLA in its opening brief
                 acknowledges that its desired contemporaneous rent



                      4
                       Compare Block v. Hirsh, 256 U.S. 135, 153–54 (1921) (upholding
                 a law allowing tenants to remain in possession after the expiration of the
                 terms of their leases at least in part because “[m]achinery is provided to
                 secure to the landlord a reasonable rent”), with Bronson v. Kinzie,
                 42 U.S. (1 How.) 311, 319–22 (1843) (striking down a law limiting
                 certain foreclosures, in part because—as the court later explained—
                 unlike in Blaisdell, “there was no provision . . . to secure to the
                 mortgagee the rental value of the property during the extended period,”
                 Blaisdell, 290 U.S. at 432); and W.B. Worthen Co. v. Kavanaugh,
                 295 U.S. 56, 61 (1935) (invalidating a law limiting foreclosures that did
                 not condition relief “upon payment of interest and taxes or the rental
                 value of the premises”).
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                 requirement “may not have been elevated to a hard and fast
                 ‘rule’ in every case.”

                     In other words, there is no apparent ironclad
                 constitutional rule that eviction moratoria pass Contracts
                 Clause scrutiny only if rent is paid during the period of the
                 moratoria. Instead, each of the cases AAGLA cites turned
                 on its own facts and circumstances. That reasonable rent
                 may have been a relevant consideration in some cases thus
                 does not make it a constitutional floor in all cases. And it
                 does not thereby create a Contracts Clause constitutional
                 baseline in a case involving a public health situation like
                 COVID-19. See Matsuda v. City & County of Honolulu,
                 512 F.3d 1148, 1152 (9th Cir. 2008) (“[T]he Supreme Court
                 has construed [the Contracts Clause] prohibition narrowly in
                 order to ensure that local governments retain the flexibility
                 to exercise their police powers effectively.”).

                     In claiming that any eviction moratorium is
                 constitutional only if rent is contemporaneously paid,
                 AAGLA relies most heavily on Blaisdell. But Blaisdell
                 shows why AAGLA’s attempt to divine a bright-line
                 “reasonable rent” rule is unpersuasive. Blaisdell identified
                 several factors that supported the state law’s
                 constitutionality. As the Court later explained, these
                 included that the law contained a declaration of emergency,
                 “protect[ed] a basic societal interest,” was “appropriately
                 tailored,” and imposed “reasonable” conditions “limited to
                 the duration of the emergency.” Allied Structural, 438 U.S.
                 at 242; see also Blaisdell, 290 U.S. at 444–47. Nothing in
                 Blaisdell suggests that a “reasonable rent” requirement was
                 dispositive. Indeed, Blaisdell specifically rejected the notion
                 that Contracts Clause analysis should proceed with a “literal
                 exactness like a mathematical formula.” 290 U.S. at 428.
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                 Instead, “[e]very case must be determined upon its own
                 circumstances.” Id. at 430 (quotations omitted).

                     Second, the outmoded approach in the pre-Blaisdell
                 cases AAGLA cites does not resemble the Supreme Court’s
                 modern Contracts Clause doctrine. See U.S. Trust, 431 U.S.
                 at 22 n.19 (explaining that to the extent prior cases had
                 imposed strict limitations, “[l]ater decisions abandoned
                 these limitations as absolute requirements”). Indeed, the
                 Supreme Court has clarified, even “the existence of an
                 emergency and the limited duration of a relief measure . . .
                 cannot be regarded as essential in every case.” Id. at 23 n.19.

                     As discussed above, Energy Reserves provided for
                 considerable deference to state and local legislatures in
                 assessing the reasonableness of legislation. 459 U.S. at 412–
                 13. Even twenty-five years ago, we “specifically recognized
                 the shift in the law created by Energy Reserves,” when the
                 Supreme Court “retreated from its prior case law” and
                 “indicated a renewed willingness to defer to the decisions of
                 state legislatures regarding the impairment of private
                 contracts.” Seltzer, 104 F.3d at 236 (quotations omitted and
                 alterations accepted). Under current precedent, this court
                 therefore does not engage in an analysis as demanding as that
                 of the pre-Blaisdell cases that AAGLA invokes.

                     Further weakening AAGLA’s challenge is the fact that
                 the eviction moratorium is but one aspect of a broader
                 remedial framework applicable to landlords during the
                 pandemic. In response to AAGLA’s concerns, appellees
                 fairly argue that the City’s creation of an Emergency Rental
                 Assistance Program supports the eviction moratorium’s
                 reasonableness. That Program initially made available about
                 $103 million (of which $100 million was funded by the
                 federal government) to provide up to $2,000 in rent
                 payments per eligible household, though only tenants were
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                 able (but were not required) to apply for such assistance.
                 Subsequently, federal and state funds allowed the City to
                 expand that program by an additional $235.5 million.

                     Moreover, the City more recently has indicated that it
                 expects to receive an additional $193 million “for rental
                 assistance directly from the federal government,” along with
                 a portion of the $1.2 billion in federal funds allocated to
                 California from the most recent legislation. The City points
                 to recent state legislation directing the funds to be “used to
                 pay all of the rental debt accumulated on or after April 1,
                 2020 by a household making up to 80% of the area median
                 income.” See Cal. Health & Safety Code § 50897.1(b),
                 (d)(1).

                     And finally, the City notes that other government
                 agencies, including within the City, have given landlords
                 flexibility in meeting their obligations, such as payment
                 plans for utilities and penalty waivers for property taxes.
                 Although the interaction between these various programs is
                 a matter of some complexity, the availability of such relief,
                 while not dispositive, remains relevant in assessing the
                 overall reasonableness of the City’s actions. See Energy
                 Reserves, 459 U.S. at 418 (“To analyze properly the Kansas
                 Act’s effect, . . . we must consider the entire state and federal
                 gas price regulatory structure.”). That other government
                 programs provide some relief to landlords thus further
                 undermines AAGLA’s Contracts Clause challenge.

                    Lastly, we note that although we appear to be the first
                 court of appeals to have addressed a challenge to the
                 constitutionality of a COVID-19-related eviction
                 moratorium under the Contracts Clause, our result today is
                 consistent with those of the district courts that have
                 confronted—and uniformly rejected—these challenges. See
                 Heights Apartments, LLC v. Walz, 510 F. Supp. 3d 789, 808–
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                 10 (D. Minn. 2020), appeal docketed, No. 21-1278 (8th
                 Cir.); Baptiste v. Kennealy, 490 F. Supp. 3d 353, 381–87
                 (D. Mass. 2020); El Papel LLC v. Inslee, No. 2:20-cv-
                 01323-RAJ-JRC, 2020 WL 8024348, at *6–12 (W.D. Wash.
                 Dec. 2, 2020), report and recommendation adopted, 2021
                 WL 71678, at *3 (Jan. 8, 2021); HAPCO v. City of
                 Philadelphia, 482 F. Supp. 3d 337, 349–35 (E.D. Pa. 2020);
                 Auracle Homes, LLC v. Lamont, 478 F. Supp. 3d 199, 223–
                 26 (D. Conn. 2020); Elmsford Apartment Assocs., LLC v.
                 Cuomo, 469 F. Supp. 3d 148, 168–72 (S.D.N.Y. 2020). 5



                      5
                        We note that AAGLA’s Contracts Clause challenge involves a
                 different analysis than the statutory and constitutional challenges to the
                 nationwide eviction moratorium imposed by the Centers for Disease
                 Control and Prevention (CDC), which recently reached the Supreme
                 Court. See Ala. Ass’n of Realtors v. U.S. Dep’t of Health & Hum. Servs.,
                 No. 20-cv-3377 (DLF), — F. Supp. 3d —, 2021 WL 1779282, at *4–9
                 (D.D.C. May 5, 2021), motion to stay granted, — F. Supp. 3d —, 2021
                 WL 1946376, at *5 (May 14, 2021), motion to vacate stay denied, No.
                 21-5093, 2021 WL 2221646, at *1 (D.C. Cir. June 2, 2021) (per curiam),
                 application to vacate stay denied sub. nom. Ala. Ass’n of Realtors v.
                 Dep’t of Health & Hum. Svcs., 141 S. Ct. 2320, 2320 (2021) (mem.); see
                 also Ala. Ass’n of Realtors, 141 S. Ct. at 2320–21 (Kavanaugh, J.,
                 concurring); Tiger Lily, LLC v. U.S. Dep’t of Hous. & Urb. Dev., 992
                 F.3d 518, 522–24 (6th Cir. 2021) (order); Terkel v. Ctrs. for Disease
                 Control & Prevention, No. 6:20-cv-00564, — F. Supp. 3d —, 2021 WL
                 742877, at *4–10 (E.D. Tex. Feb. 25, 2021), appeal docketed, No. 21-
                 40137 (5th Cir.). Those cases concern the federal government’s powers
                 to enact national eviction moratoria under the Public Health Service Act
                 and the Constitution. See Tiger Lily, 992 F.3d at 522–23; Ala. Ass’n of
                 Realtors, 2021 WL 1779282, at *4; Terkel, 2021 WL 742877, at *4. We
                 have no occasion to opine on those issues here.

                      The issues presented here are also different than those in Chrysafis,
                 discussed above, in which the Supreme Court partially enjoined New
                 York’s eviction moratorium based on a Due Process challenge relating
                 to landlords’ lack of access to hearing procedures. No. 21A8, slip op.
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                     Because AAGLA has not demonstrated a likelihood of
                 success on its claim, we need not address the other
                 preliminary injunction factors that AAGLA also would have
                 needed to establish. See California ex rel. Becerra v. Azar,
                 950 F.3d 1067, 1083 (9th Cir. 2020) (en banc) (“If a movant
                 fails to establish likelihood of success on the merits, we need
                 not consider the other factors.”).

                                             *    *    *

                     We are tasked only with evaluating the constitutionality
                 of the eviction moratorium under the forgiving standard of
                 modern Contracts Clause analysis. A faithful application of
                 that standard requires us to conclude that the district court
                 did not err in denying AAGLA’s request for preliminary
                 injunctive relief.

                     AFFIRMED.




                 at 1. The Supreme Court in Chrysafis was not considering a Contracts
                 Clause challenge.
